
GREEN, J.,
delivered the opinion of the court. The question which the parties intended to submit by their pleadings, is not brought up in such a way as that it can be judicially settled by the judgment of the court in this case. The demurrer leads us up to the first fatal error in the pleadings. Upon the authorities cited at the bar, the declaration, if not good against a special demurrer, is good upon general demurrer, and cured by the pleading over. But the *364avowry is fatally defective in many of the particulars stated at the bar. This avowry was imperfectly copied from the form in Chitty’s Pleadings, framed upon 'the provisions of the english statute of 11 Geo. II, ch. 19, ? 22, which, in cases of distress for rent, greatly relaxed the strictness necessary in avowries by the common law; but we have no such statute, and none which at all affects the rules of the common law applicable to the pleadings in replevin.
The judgment is to be reversed, the demurrer overruled, and the cause sent back, with a direction to award a writ of inquiry as to the damages sustained by thé plaintiff.
